                                  EXHIBIT A
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 1 of 32 PageID #: 4
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 2 of 32 PageID #: 5
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 3 of 32 PageID #: 6
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 4 of 32 PageID #: 7
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 5 of 32 PageID #: 8
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 6 of 32 PageID #: 9
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 7 of 32 PageID #: 10
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 8 of 32 PageID #: 11
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 9 of 32 PageID #: 12
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 10 of 32 PageID #: 13
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 11 of 32 PageID #: 14
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 12 of 32 PageID #: 15
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 13 of 32 PageID #: 16
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 14 of 32 PageID #: 17
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 15 of 32 PageID #: 18
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 16 of 32 PageID #: 19
11/08/2018 THU 11:00    FAX 4232096701 Ham.          Co.       Circuit Court                                      0031/034




                          CIRCUIT COURT FOR HAMILTON COUNTY
                                     State of Tennessee

     Todd Russell,

                          Plaintiff,


                                                                   No. 18cll53
     CoreCivic of Tennessee, LLC                                      iM-
     (formerly known as CCA of                                     JURY DEMAND
     Tennessee, LLC),
                                                          §
     CoreCivic, Inc.,          , * * -A 7;;"              §
     (formerly known as Coiy£ctioh§ ' .        *9         §
     Corporation of Ameri^aiffac.)^ A r a                  §                                   *o

                                       -•o            !§
     Correct Care SoLtiriONsi"                        5§
                                                                                          3.        73       O'
                                                    > A    §                              c"
      Hamilton County Govei^imenx,^^-^                     §                          ?    *         sr
                                       op*’                                           >    O                   a>
                                                           §                                         ■-T3      -n
                                                                                                       •31      -r\
      Unknown Number of Jane c>rsS *                                                           -4

      John Does,                                                                               cr
      (individually and as unknown male and                                                               CP
      female agents, staff, guards, and/or
      medical doctors or nurses performing
      duties and working at location known
      herein as “Silverdale”),


                           Defendants.


                                             AFFIDAVIT OF SERVICE

             1.     Iam Wendi Sloop, Sr. Paralegal to Robin Flores, and I have first-hand
      information of the facts I state herein, and I am competent to make this affidavit.

             2.    On October 15, 2018,1 mailed by certified mail - receipt number
      70172400000021157775 a copy of the Summons and Complaint to Core Civic of Tennessee,
      LLC, c/o CT Corp System - Registered Agent, 300 Montvue Road, Knoxville, TN 37919.

              3.     On October 24, 2018,1 received the green return receipt signed by what appears
      to be the name Samantha Sutton on October 22, 2018. [Exhibit A]

             AFFIANT STATES NOTHING FURTHER.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 17 of 32 PageID #: 20
  11/08/2018 THU 11:00              FAX 4232096701
                                                            Ham.       Co.     Circuit Court




                                                          • • • 11 /
         SENDER: COMPLETE THIS SECTION                                   COMPLETE THIS SECTION ON DELIVERY

         ■ Complete items 1,2, and 3.
         ■ Print your name and address on the reverse                    X               AflT^ ~QA4fL                           □ Addressee
           so that we can return the card to you.
                                                                         B. Received                                     j C. Date of Delivery
         ■ Attach this card to the back of the maiipiece,
           or on the front if space permits.                                                             S                                           i
         1. Article Addressed to:                                        D. Is delivery addressdifferen] fromiteml?             □ Yes
                                                                            If YES, entfUfg/gft iPraffr                         □ No


                                                                               DATE/TIME fO r2W
          %X)       IMorrW^                                                      LARRYLHEN RY, CLERK
                                                                              BY          (\hz      D.C.
                                                                         3. Service Type                              □ Priority Mail Express®
               iiiiiiiiiiiiiiiiiiiii mill inn                            □ Adult Signature
                                                                        p Adult Signature Restricted Delivery
                                                                                                                      □ Registered Mall™
                                                                                                                      □ Registered Mail Restricted
                                                                           Certified Mall®                            v/Oeiivery
                  9590 9402 3249 7196 6231 49                            □ Certified Mail Restricted Delivery        fil Return Receipt for
                                                                         D Collect on Delivery                           Merchandise
          2. Article Number (Transfer from senire lahah                  □ Collect on Delivery Restricted Delivery    □ Signature Confltprtion™
                                                                              sured Marl                              □ Signature Confirmation
            701? 2400 0000 2115 7775                                          sured Mai Restricted Delivery
                                                                       1 — iL»ver $500)         ’
                                                                                                                         Restricted D#/ery

        . PS Form   3811, duly 2015 PSN 7530-02-000-9053                                                         Domestic Return Receipt




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 18 of 32 PageID #: 21
11/08/2018 THU 11:01     FAX 4232096701 Ham.       Co.       Circuit Court                                    0033/034




                           CIRCUIT COURT FOR HAMILTON COUNTY
                                      State of Tennessee

     Todd Russell,

                             Plaintiff,

     ~v~
                                                         ! ,.a?>ury,
                                                         o                                       \
                                                                                                                  ✓V

      CoreCivic of Tennessee, LLC                                                                           c'l
      (formerly known as CCA of                                  JURY DEMAND
      Tennessee, LLC),

      CoreCivic, Inc.,
      (formerly known as Corrections
      Corporation of American Inc.),

      Correct Care Solutions, LLC,

      Hamilton County Government,

      Unknown Number of Jane or
      John Does,
      (individually and as unknown male and
      female agents, staff, guards, and/or
      medical doctors or nurses performing
      duties and working at location known
      herein as “Silverdale”),


                              Defendants.

                                                SUMMONS
      To:    CORE CIVIC OF TENNESSEE, LLC
             c/o CT Corp System- Registered Agent
             300 Montvue Road
             Knoxville, Tennessee 37919

              You are hereby summoned to answer and make defense to a Bill of Complaint, which has
      been filed in the Circuit Court for Hamilton County, Tennessee in the above styled case. Your
      defense to this Complaint must be filed in the office of the Clerk of Circuit Court for Hamilton
      County, Tennessee on or before thirty (30) days after service of this summons upon you. If you fail
      to do so, judgment by default will be taken against you for the relief demanded in the Complaint.
      WITNESSED and issued this the l ^         day of OOfnMV                          id%

                                                         Larry Henry, Clerk

                                                                               SERVICE
                                                                               RETURN
Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 19 of 32 PageID #: 22
11/08/2018 THU 11:01         FAX 4232096701 Ham.          Co.   Circuit Court




                                                    Lari&JHenry, Clerk
                                           By:                         WL


                                                     Notice to Defendant(s)
                  Tennessee law provides a four thousand ($4,000.00) personal property exemption from execution or
        seizure to satisfy a judgment. If a judgment should be entered against you in this action and you wish to claim
        property as exempt, you must file a written list, under oath, of the items you wish to claim as exempt with the
       Clerk of Court. The list may be filed at any time and may be changed by you thereafter as necessary; however,
       unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
       issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed;
        these include items of necessary wearing apparel (clothing) for yourself and your family and trunks and other
       receptacles necessary to contain such apparel, family portraits, the family Bible, and school books. Should and
         of these items be seized you would have the right to recover them. If you do not understand your exemption
                            right or how to exercise it, you may wish to seek the counsel of a lawyer.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 20 of 32 PageID #: 23
11/08/2018 THU 10:55      FAX 4232096701 Ham.       Co.    Circuit Court                                      0022/034




                              CIRCUIT COURT FOR HAMILTON COUNTY
                                         State of Tennessee

       Todd Russell,                                      §
                                                          §
                              Plaintiff,                  §
                                                          §
       ~v~                                                §
                                                          §     No. 18cll53
       CoreCivic of Tennessee, LLC                        §
       (formerly known as CCA of                          §      JURTDEMAND
       Tennessee, LLC),                                   §
                                                          §
       CoreCivic, Inc.,             /'.'.'TV";"”          §
       (formerly known as Corrections              / ~    §                              r*
                                                                                         :p*
       Corporation of American Inc.), *             VJ                                              CP
                                                          *§                              -4
       Correct Care Solutions, LLC, . -             /     ft                                         £T
                                                          »§                        W                -O
       Hamilton County Government,-                        §                                   -4
                                                           §                                   <r>       ro
                                                                                               r*
       Unknown Number of Jane or                           §                                              XT
       John Does,                                          §
       (individually and as unknown male and               §
       female agents, staff, guards, and/or                §
       medical doctors or nurses performing                §
       duties and working at location known                §
       herein as “Silverdale”),                            §
                                                           §
                                                           §
                              Defendants.                  §


                                           AFFIDAVIT OF SERVICE

              1.      Iam Wendi Sloop, Sr. Paralegal to Robin Flores, and I have first-hand
       information of the facts I state herein, and I am competent to make this affidavit.

             2.     On October 15, 2018,1 mailed by certified mail - receipt number
       70172400000021157751 a copy of the Summons and Complaint to Cover Civic, Inc., c/o CT
       Corp System - Registered Agent, 300 Montvue Road, Knoxville, TN 37919.

               3.     On October 24, 2018,1 received the green return receipt signed by what appears
       to be the name Samantha Sutton on October 22, 2018. [Exhibit A]

              AFFIANT STATES NOTHING FURTHER.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 21 of 32 PageID #: 24
  11/08/2018 THU 10:55       FAX 4232096701 Ham.                   Co.   Circuit Court
                                                                                                                                                         023/034




                   SENDER: COMPLETE THIS SECTION                                COMPLETE THIS SECTION ON DELIVERY

                       Complete Items 1,2, and 3.                               A. Slg
                                                                                                                                    □ Agent
                       Print your name and address on the reverse               X
                       so that we can return the card to you.                                                                           ddressee
                                                                                B. Received byrfl                                 Date of Delivery
                       Attach this card to the back of the mailplece,
                       or on the front if space permits.                                           Tjcrssaif
                   1. Article Addressed to:                                     D. (s delivery                                      □ Yes
                   Core Cw/iC InC*                                   g             If YES, enter


                  Cjo CT Corf

                   300                                               sm
                                                                              3. Service Type


                            9590 9402 3249 7196 6231 32
                                                         11                   □ Adult Signature
                                                                              □ Adult Signature Restricted Delivery
                                                                              SL Certified Mail®
                                                                                                                          □ Priority Mail Express®
                                                                                                                          □ Registered Mail™
                                                                                                                          □ Registered Mail Restricted
                                                                                                                                           for
                                                                              □ Certified Mail Restricted Delivery
                                                                              □ Collect on Delivery                          Merchandise
                   9   Ar+lrlo Klninhfir rtianefapAron oe.rv»'ra              n Collect on De)ivery Restricted Delivery   □ Signature Confirmation™
                                                                                 Insured Mail                             □ Signature Confirmation
                    701? 5M00 DDDD 5115 7751                                     Insured Mail Restricted Delivery            Restricted Delivery
                                                                              —(over $500)
                   PS Form     3811, July 2015 PSN 7530-02-000-9053                                                   Domestic Return Receipt




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 22 of 32 PageID #: 25
11/08/2018 THU 10:56      FAX 4232096701 Ham.      Co.       Circuit Court                                    0024/034




                                                                                                        <2>   ^
                            CIRCUIT COURT FOR HAMILTON COUNTY
                                       State of Tennessee

      Todd Russell,                                      §
                                                         §
                              Plaintiff,                 §                                                         '' A
                                                         §
      ~v~
                                                         8        NQ.15CUS5

      CoreCivic of Tennessee, LLC                        §
      (formerly known as CCA of                          §        JURY DEMAND
      Tennessee, LLC),                                   §
                                                         §
      CoreCivic, Inc.,                                   §
      (formerly known as Corrections                     §
      Corporation of American Inc.),                     §
                                                         §
      Correct Care Solutions, LLC,                       §
                                                         §
      Hamilton County Government,                        §
                                                         §
      Unknown Number of Jane or                          §
      John Does,                                         §
      (individually and as unknown male and              §
      female agents, staff, guards, and/or               §
      medical doctors or nurses performing               §
      duties and working at location known               §
      herein as “Silverdale”),                           §
                                                         §
                                                         §
                               Defendants.               §


                                                 SUMMONS
       To:    CORE CIVIC INC.
              c/o CT Corp System- Registered Agent
              300 Montvue Road
              Knoxville, Tennessee 37919

               You are hereby summoned to answer and make defense to a Bill of Complaint, which has
       been filed in die Circuit Court for Hamilton County, Tennessee in the above styled case. Your
       defense to this Complaint must be filed in the office of the Clerk of Circuit Court for Hamilton
       County, Tennessee on or before thirty (30) days after service of this summons upon you. If you fail
       to do so, judgment by default will be taken against you for the relief demanded in the Complaint.
       WITNESSED and issued this the IS          day of OcM___ , 20_l_S

                                                         Larry Henry, Clerk


                                                                                        Return

Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 23 of 32 PageID #: 26
11/08/2018 THU 10:56        FAX 4232096701 Ham.           Co.   Circuit Court                                                 El 0 2 5/034




                                                     Larry Henry, ClerA
                                            by:                        Wm*.


                                                      Notice to Defendant(s)
                   Tennessee law provides a four thousand ($4,000.00) personal property exemption from execution or
        seizure to satisfy a judgment. If a judgment should be entered against you in this action and you wish to claim
         property as exempt, you must file a written list, under oath, of the items you wish to claim as exempt with the
        Clerk of Court. The list may be filed at any time and may be changed by you thereafter as necessary; however,
        unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
        issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed;
         these include items of necessary wearing apparel (clothing) for yourself and your family and trunks and other
        receptacles necessary to contain such apparel, family portraits, the family Bible, and school books. Should and
          of these items be seized you would have the right to recover them. If you do not understand your exemption
                             right or how to exercise it, you may wish to seek the counsel of a lawyer.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 24 of 32 PageID #: 27
                                                                                                     0026/034
11/08/2018 THU 10: 57   FAX 4232096701 Ham.     Co.   Circuit Court




                              CIRCUIT COURT FOR HAMILTON COUNTY
                                         State of Tennessee

        Todd Russell,                                 §
                                                      §
                              Plaintiff,              §
                                                      §
        ~v~                                           §
                                                      §     No. 18cll53
        CoreCivic of Tennessee, LLC                   §
        (formerly known as CCA of                     §     JURY^DEMAND
        Tennessee, LLC),                              §
                                                      §
        CoreCivic, Inc.,                              §
        (formerly known as Corrections                §
        Corporation of American Inc.),                §
                                                      §
        Correct Care Solutions, LLC,                  §
                                                      §
        Hamilton County Government,                   §
                                                      §
        Unknown Number of Jane or                     §
        John Does,                                    §
        (individually and as unknown male and         §
        female agents, staff, guards, and/or          §
        medical doctors or nurses performing          §
        duties and working at location known          §
        herein as “Silverdale”),                      §
                                                      §
                                                      §
                               Defendants.            §


                                           AFFIDAVIT OF SERVICE

                1.     I am Wendi Sloop, Sr. Paralegal to Robin Flores, and I have first-hand
         information of the facts I state herein, and I am competent to make this affidavit.

               2.      On October 15, 2018,1 mailed by certified mail - receipt number
         70172400000021157768 a copy of the Summons and Complaint to Correct Care Solutions, c/o
         Corporate Creations Network Inc., 205 Powel Place, Brentwood, TN 37027.

                 3.     On October 22, 2018,1 received the green return receipt signed by what appears
         to be the name A. Walth on October 19, 2018. [Exhibit A]

                AFFIANT STATES NOTHING FURTHER.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 25 of 32 PageID #: 28
11/08/2018 THU 10:57   FAX 4232096701 Ham.     Co.   Circuit Court




      STATE OF TENNESSEE )
      HAMILTON COUNTY )


      I, Wendi Sloop, first being duly sworn, do hereby make solemn oath that the facts contained in
      this affidavit are true to the best of my knowledge, information and belief.
                 <2^
      This the             day of October, 2018.



      Sworn to before me this
      October, 2018.
                                n     day of



      Notary Public
      My commission expires:




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 26 of 32 PageID #: 29
11/08/2018 THU 10:58            FAX 4232096701 Ham.         Co.    Circuit Court




         SENDER'. COMPLETE THIS SECTION                           COMPLETE THIS SECTION ON DELIVERY

         ■ Complete items 1,2, and 3.
         ■ Print your name and address on the reverse
           so that we can return the card to you.
         ■ Attach this card to the back of the mailpiece,
           or on the front if space permits.
         1. Article Addressed to:
                                                                    If YES,                                        □ No
                                                               {AC.
                                                                       DATE/TIME 1°
                                                                             RY L HENRY, CLERK
                                                              3. Service'                                         Mail Express® :
                                                              □ Adult Signature'                                      Mail™
                                                              □ Adult Signature Restricted betlveiy?                 Mali Restricted
                                                              X Certified Mali®
                 9590 9402 3249 7196 6231 25                  □ Certified Mail Restricted Delivery             im Receipt for
                                                              □ Collect on Delivery                         lerchandise
            Artr/'lc MiimHar /Transfer frnm                   □ Collect on Delivery Restricted Delivery □ Signature Confirmation™
                                                              □ Insured Mail                            □ Signature Confirmation
            701? 240D 0000 2115 77bfi                          insured Mail Restricted Delivery           Restricted Delivery
                                                              - gLerSSOO)
         PS Form   3811 . July 2015 PSN 7530-02-000-9053                                             Domestic Return Receipt




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 27 of 32 PageID #: 30
11/08/2018 THU 10:58      FAX 4232096701 Ham.      Co.       Circuit Court                                   El 0 2 9/034




                                                                                                                   ''O
                            CIRCUIT COURT FOR HAMILTON COUNTY                                                ja

                                       State of Tennessee'
                                                                                                                   O'

      Todd Russell,                                      §                                                   y\v
                                                                                                                         p.

                                                         §                                                                    o

                              Plaintiff,                 §
                                                         §
      ~v~

      CoreCtvic of Tennessee, LLC                        §
      (formerly known as CCA of                          §        JURY DEMAND
      Tennessee, LLC),                                   §
                                                         §
      CoreCivic, Inc.,                                   §
      (formerly known as Corrections                     §
      Corporation of American Inc.),                     §
                                                         §
      Correct Care Solutions, LLC,                       §
                                                         §
      Hamilton County Government,                        §
                                                         §
      Unknown Number of Jane or                          §
      John Does,                                         §
      (individually and as unknown male and              §
      female agents, staff, guards, and/or               §
      medical doctors or nurses performing               §
      duties and working at location known               §
      herein as “Silverdale”),                           §
                                                         §
                                                         §
                               Defendants.               §


                                                 SUMMONS
       To:     CORRECT CARE SOLUTIONS, LLC
               c/o Corporate Creations Netwoork, Inc. - Registered Agent
               205 Powell Place
               Brentwood, Tennessee 37027

               You are hereby summoned to answer and make defense to a Bill of Complaint, which has
       been filed in the Circuit Court for Hamilton County, Tennessee in the above styled case. Your
       defense to this Complaint must be filed in the office of the Clerk of Circuit Court for Hamilton
       County, Tennessee on or before thirty (30) days after service of this summons upon you. If you fail
       to do so, judgment by default will be taken against you for the relief demanded in the Complaint.
       WITNESSED and issued this the             day of QOobg<_____ ___ ,20 IS

                                                             Larry Henry, Clerk

                                                                                       RETURN


Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 28 of 32 PageID #: 31
                                                   Notice to Defendants)
                Tennessee law provides a four thousand ($4,000.00) personal property exemption from execution or
      seizure to satisfy a judgment. If a judgment should be entered against you in this action and you wish to claim
      property as exempt, you must file a written list, under oath, of the items you wish to claim as exempt with the
     Clerk of Court. The list may be filed at any time and may be changed by you thereafter as necessary; however,
     unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
     issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed;
      these include items of necessary wearing apparel (clothing) for yourself and your family and trunks and other
     receptacles necessary to contain such apparel, family portraits, the family Bible, and school books. Should and
       of these items be seized you would have the right to recover them. If you do not understand your exemption
                          right or how to exercise it, you may wish to seek the counsel of a lawyer.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 29 of 32 PageID #: 32
11/08/2018 THU 10:53     FAX 4232096701 Ham.   Co.       Circuit Court                                  0019/034




                            CIRCUIT COURT FOR HAMILTON COUNTY
                                       State of Tennessee

      Todd Russell,                                  §
                                                     §
                            Plaintiff,               §
                                                     §
      ~v~                                            §
                                                     §         No ._||c 11 yJ3
      CoreCivic of Tennessee, LLC                    §
      (formerly known as CCA of                      §             JURY DEMAND
      Tennessee, LLC),                               §
                                                     §
      CoreCivic, Inc.,                               §
      (formerly known as Corrections                 §
      Corporation of American Inc.),                 §
                                                     §
      Correct Care Solutions, LLC,.                  §
                                                     §     .
      Hamilton County Government, "
                                                     §'
      Unknown Number of Jane Dr                      §
      John Does,                \                    §         .
      (individually and as unknown male arid         §v-v
      female agents, staff, guards, and/or •         §
      medical doctors or nurses performing           §
      duties and working at location known           §
      herein as “Silverdale”),                       §
                                                     §
                                                     §
                             Defendants.             §



                                         AFFIDAVIT OF SERVICE

              1.    Iam Clayton Jones, and I have first-hand information of the facts I state herein,
       and I am competent to make this affidavit.

             2.    On October 15, 2018, a Summons was issued for Defendant, Hamilton County
       Government.

             3.      On October 15, 2018,1 personally served the Defendant, Hamilton County
       Government at the Hamilton County Attorney’s Office, c/o Rheubin Taylor, located at 625
       Georgia Avenue, Suite 204, Chattanooga, TN 37402.1 served the complaint to Paige Brown,
       who works for Mr. Taylor in the Hamilton County Attorney’s Office.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 30 of 32 PageID #: 33
11/08/2018 THU 10:53     FAX 4232096701 Ham.      Co.       Circuit Court                                        002




                           CIRCUIT COURT FOR HAMILTON COUNTY
                                      State of Tennessee
                                                                                                       %
      Todd Russell,                                     §                                        <7.
                                                                                                  'AQ
                                                        §
                             Plaintiff,                 §                                               <        ^     K
                                                        §                                                   -■i- -'X
      ~v~                                                                                                    V\ VS
                                                        §        No.
      CoreCivic of Tennessee, LLC                       §
      (formerly known as CCA of                         §       JURY DEMAND                                  >
      Tennessee, LLC),                                  §
                                                        §
      CoreCivic, Inc.,                                  §
      (formerly known as Corrections                    §
      Corporation of American Inc.),                    §
                                                        §
      Correct Care Solutions, LLC,                      §
                                                        §
      Hamilton County Government,                       §
                                                        §
      Unknown Number of Jane or                         §
      John Does,                                        §
      (individually and as unknown male and             §
      female agents, staff, guards, and/or
      medical doctors or nurses performing              §
      duties and working at location known              §
      herein as “Silverdale”),                          §
                                                        §
                                                        §
                              Defendants.               §


                                                SUMMONS
      To:    HAMILTON COUNTY GOVERNMENT
             c/o Rheubin Taylor, County Attorney
             625 Georgia Avenue, Suite 204
             Chattanooga, Tennessee 37402

              You are hereby summoned to answer and make defense to a Bill of Complaint, which has
      been filed in the Circuit Court for Hamilton County, Tennessee in the above styled case. Your
      defense to this Complaint must be filed in the office of the Clerk of Circuit Court for Hamilton
      County, Tennessee on or before thirty (30) days after service of this summons upon you. If you fail
      to do so, judgment by default will be taken against you for the relief demanded in the Complaint.
      WITNESSED and issued this the IS          day of        October________,20 IS

                                                            Larry Henry, Clerk

                                                                                      SERVICE
                                                                                      RETURN

Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 31 of 32 PageID #: 34
11/08/2018 THU 10:54        FAX 4232096701 Ham.          Co.   Circuit Court                                                0021/034




                                                            Henry, Cle

                                          BY:                                                            D.C.

                                                    Notice to Defendant(s)
                  Tennessee law provides a four thousand ($4,000.00) personal property exemption from execution or
       seizure to satisfy a judgment. If a judgment should be entered against you in this action and you wish to claim
       property as exempt, you must file a written list, under oath, of the items you wish to claim as exempt with the
      Clerk of Court. The list may be filed at any time and may be changed by you thereafter as necessary; however,
       unless it is filed before the judgment becomes final, it will not be effective as to any execution or garnishment
      issued prior to the filing of the list. Certain items are automatically exempt by law and do not need to be listed;
       these include items of necessary wearing apparel (clothing) for yourself and your family and trunks and other
      receptacles necessary to contain such apparel, family portraits, the family Bible, and school books. Should and
        of these items be seized you would have the right to recover them. If you do not understand your exemption
      _______________ right or how to exercise it, you may wish to seek the counsel of a lawyer.




Case 1:18-cv-00268-TRM-CHS Document 1-1 Filed 11/09/18 Page 32 of 32 PageID #: 35
